Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 1 of 14




                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLORADO

  Civil Action No. ______________________

  STEVE RIVE, on behalf of himself, and all others similar situated,

         Plaintiff,

  v.

  ASPEN CORPORATIONS, INC., a Delaware corporation d/b/a Aspen Media,

         Defendant.

                      CLASS ACTION COMPLAINT AND JURY DEMAND
         Steve Rive (“Plaintiff”) brings this Class Action Complaint for damages, injunctive relief,
  and any other available legal or equitable remedies, resulting from the illegal actions of Aspen
  Corporations, Inc. doing business as Aspen Media (“Defendant” or “Aspen Media”), in negligently
  and/or willfully contacting Plaintiff through unsolicited calls on Plaintiff’s cellular telephone, in
  violation of the Telephone Consumer Protection Act, 47 U.S.C. §§ 227 et seq. (“TCPA”), thereby
  invading Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as to his own
  acts and experiences and, as to all other matters, upon information and belief, including
  investigation conducted by his attorneys.
                                    NATURE OF THE ACTION
         1.      In a misguided effort to solicit business, Aspen Media routinely contacts potential
  customers through unsolicited phone calls placed with automatic telephone dialing equipment and
  featuring artificial and/or prerecorded voice messages. However, Aspen Media regularly places
  these phone calls to cellular telephone numbers, without consent, in violation of the TCPA.
         2.      The TCPA strictly forbids nuisance phone calls exactly like those alleged in this
  Complaint – intrusive phone calls to private cellular phones, placed to numbers obtained without
  the prior express consent of the recipients.




                                                   1
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 2 of 14




          3.      Defendant’s violations caused Plaintiff and members of the Class actual harm,
  including aggravation, nuisance, and invasion of privacy that necessarily accompanies the receipt
  of unsolicited phone calls, as well as the violation of their statutory rights.
          4.      Plaintiff and members of the Class suffered a concrete injury in fact, whether
  tangible or intangible, that is directly traceable to Defendant’s conduct, and is likely to be redressed
  by a favorable decision in this action.
          5.      Plaintiff seeks an injunction stopping Defendant from making unsolicited phone
  calls, as well as an award of statutory damages under the TCPA, together with costs and reasonable
  attorneys’ fees.
                                    JURISDICTION AND VENUE
          6.      This Court has federal question subject matter jurisdiction under 28 U.S.C. § 1331,
  as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq., a
  federal statute. Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740, 751-53 (2012).
  Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff seeks up to $1,500 in
  damages for each phone call in violation of the TCPA, which, when aggregated among a proposed
  class number in the tens of thousands, exceeds the $5,000,000 threshold for federal court
  jurisdiction. Further, Plaintiff alleges a national class, which will result in at least one class member
  belonging to a different state than that of the Defendant, providing jurisdiction under 28 U.S.C. §
  1332(d)(2)(A). Therefore, both elements of diversity jurisdiction under the Class Action Fairness
  Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
          7.      The Court has personal jurisdiction over Defendant and venue is proper in this
  District because Defendant transacts significant amounts of business within this District.
          8.      Personal jurisdiction over Defendant is also proper in this District because
  Defendant, at all times herein mentioned, was doing business in the County of Boulder, State of
  Colorado, and a substantial part of the events giving rise to the claim, mainly the calls placed to
  Plaintiff’s cellular number, occurred in this jurisdiction.




                                                     2
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 3 of 14




                                                PARTIES
            9.     Plaintiff is, and at all times mentioned was, a resident of the State of South Dakota,
  County of Minnehaha. He is, and at all times mentioned herein, was a “person” as defined by 47
  U.S.C. § 153 (39).
            10.    Defendant is engaged in the business of business process outsourcing and
  marketing and research for business to business and business to customer services. Defendant is
  incorporated in Delaware that maintains its principal place of business at 450 Courtney Way, #101,
  Lafayette, Colorado 80026. Defendant is a “person” as defined by 47 U.S.C. § 153 (39).
           THE TELEPHONE CONSUMERS PROTECTION ACT OF 1991 (“TCPA”)
                                         47 U.S.C. §§ 227 et seq.
            11.    In 1991, Congress enacted the Telephone Consumer Protection Act, 47 U.S.C. §
  227 (TCPA),1 in response to a growing number of consumer complaints regarding certain
  telemarketing practices.
            12.    The TCPA regulates, among other things, the use of automated telephone
  equipment, or “autodialers.” Specifically, the plain language of section 227(b)(1)(A)(iii) prohibits
  the use of autodialers to make any call to a wireless number in the absence of an emergency or the
  prior express consent of the called party.2
            13.    According to findings by the Federal Communication Commission (“FCC”), the
  agency Congress vested with authority to issue regulations implementing the TCPA, such calls are
  prohibited because, as Congress found, automated or prerecorded telephone calls are a greater
  nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and




  1
    Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394 (1991),
  codified at 47 U.S.C. § 227 (TCPA). The TCPA amended Title II of the Communications Act of
  1934, 47 U.S.C. §§ 201 et seq.
  2
      47 U.S.C. § 227(b)(1)(A)(iii).



                                                     3
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 4 of 14




  inconvenient. The FCC also recognized that wireless customers are charged for incoming calls
  whether they pay in advance or after the minutes are used.3
           14.    The TCPA makes it unlawful “to make any call (other than for emergency purposes
  or made with the prior express consent of the called party) using an automatic telephone dialing
  system or an artificial or prerecorded voice . . . to any telephone number assigned to a . . . cellular
  telephone service.” 47 U.S.C. § 227(b)(1).
           15.    The FCC has made clear that “prior express written consent” is required before
  making any such telemarketing robocalls to wireless numbers. The express written consent must
  be signed and be sufficient to show the consumer received clear and conspicuous disclosure of the
  significance of providing consent and must further unambiguously agree to receive future phone
  calls.
           16.    Specifically, the FCC ordered:
           “[A] consumer’s written consent to receive telemarketing robocalls must be signed
           and be sufficient to show that the consumer: (1) received clear and conspicuous
           disclosure of the consequences of providing the requested consent; i.e., that the
           consumer will receive future calls that deliver prerecorded messages by on or behalf
           of a specific seller; and (2) having received this information, agrees unambiguously
           to receive such calls at a telephone number the consumer designates. In addition,
           the written agreement must be obtained without requiring, directly or indirectly,
           that the agreement be executed as a condition of purchasing any good or service.”
  In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 FCC
  Rcd. 1830, 1844 ¶ 33 (FCC Feb. 15, 2012) (footnotes omitted) (internal quotation marks omitted).




  3
   In Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, Report
  and Order, 18 FCC Rcd. 14014 (FCC July 3, 2003).



                                                    4
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 5 of 14




         17.     On July 10, 2015 the FCC released a Declaratory Ruling wherein it was confirmed
  that even if a consumer originally did provide “prior express consent” that caller has a right to
  revoke consent, using any reasonable method, including orally or in writing.4
         18.     The TCPA and its implementing rules make it unlawful for a person to “make” or
  “initiate” a call that violates the Act. 47 U.S.C. § 227(b)(1)(A).
                                    FACTUAL ALLEGATIONS
         19.     In an effort to gain business, generate revenue and promote product sales,
  Defendant runs marketing campaigns by way of mass calling campaigns. Defendant ran these
  marketing campaigns without the prior express written consent of the call recipients as required
  by law. Further, Defendant continued to call those prospective customers even after he or she
  revoked consent from future contact.
         20.     The TCPA was intended to give individuals control over how and where they
  received calls. When Defendant makes calls to individual’s cellular telephones without their
  consent, it fails to address or represent the limitation imposed by the TCPA. In doing so, it takes
  control away from consumers and violations both the spirit and letter of the TCPA
         21.     Beginning no later than September 2018, Plaintiff began receiving unsolicited
  phone calls on his cellular telephone from Defendant.
          22.    On September 19, 2018, Plaintiff received an unsolicited phone call to his cellular
  telephone number from 303-756-9500. The September 19th call to Plaintiff’s cellular telephone
  was automated and featured a prerecorded voice.
          23.    Again, on November 5, 2018, Plaintiff received another unsolicited phone call to
  his cellular telephone number from 303-756-9500.
          24.    Plaintiff also became distracted and aggravated as a result of receiving each of
  Defendant’s phone calls.




  4
   In Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, 30
  F.C.C Rcd. 7996, 2015 WL 4387780 (FCC July 10, 2015); ACA Int'l v. Fed. Commc'ns Comm'n,
  885 F.3d 687, 692 (D.C. Cir. 2018).


                                                    5
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 6 of 14




          25.    The calls to Plaintiff’s cellular telephone were automated and/or featured
  prerecorded voice messages.
          26.    The unsolicited phone calls placed to Plaintiff’s wireless telephone were placed via
  and “automatic telephone dialing system,” (“ATDS”) as defined by 47 U.S.C. § 227(a)(1) and by
  using “an artificial or prerecorded voice” system as prohibited by 47 U.S.C. § 227 (b)(1)(A), which
  had the capacity to produce or store numbers randomly or sequentially, and to dial such numbers,
  to place telephone calls to Plaintiff’s cellular telephone.
          27.    The telephone number that Defendant, or its agents, called was assigned to a
  cellular telephone service for which Plaintiff incurred a charge for incoming calls pursuant to 47
  U.S.C. § 227 (b)(1).
          28.    These telephone calls constitute calls that were not for emergency purposes as
  defined by 47 U.S.C. § 227(b)(1)(A)(i).
          29.    Plaintiff did not provide Defendant or its agents prior express consent to receive
  unsolicited phone calls pursuant to 47 U.S.C. § 227 (b)(1)(A).
          30.    These telephone calls by Defendant or its agents therefore violated 47 U.S.C. §
  227(b)(1).
          31.    Plaintiff is not alone in receiving these unsolicited phone call advertisements. In
  fact, numerous consumers have complained of receipt of similar unsolicited phone calls, stating
  they never provided their cellphone numbers to the Defendant, or provided any permission, let
  alone prior express written consent, to the Defendant to receive the offending phone calls, and yet
  continued to receive the phone calls.
          32.    Most notably, the Better Business Bureau website give Aspen Media an “F” rating.
  The website also contains an alert due to a pattern of complaint stating, “BBB files indicate a
  pattern of consumer complaints filed against this business. Specifically, these complaints allege
  customer service issues regarding harassment and unsolicited calls from the business, even after
  consumer request to be removed from the call list. BBB contacted the business to address the
  complaint      allegations,     however,      the       business   failed   to    respond.     See




                                                      6
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 7 of 14




  https://www.bbb.org/us/co/lafayette/profile/market-research/aspen-media-market-research-0885-
  48953 (last visited on February 22, 2019).
          33.     The following complaints can be found on the Better Business Bureau Website:
             a.   On the Better Business Bureau website, on November 28, 2017, one consumer
                  wrote “This company has been harassing me and costing my company a lot of
                  money over the years. They’ve called, literally, hundreds of times over the year
                  and as you can see from the complaints here as well as over the rest of the internet
                  they flat out refuse to stop calling.”
             b. On the Better Business Bureau website, on October 31, 2017, one consumer wrote
                  “Aspen Media continues to call and solicit their “free” magazines after repeated
                  requests to no longer be contacted. No one in this office is interested in anything
                  they have to offer. They are harassing up, and call 2-3 times a day, every single day
                  of the week regardless of how many times I’ve told them to stop calling. While I
                  try to tell them to stop, they merely hang up on me.”
             c. On the Better Business Bureau website, on October 29, 2017, one consumer wrote
                  “I keep receiving phone calls from Aspen Media. And even though all their calls
                  roll thru to voice mail every time, they don’t leave any message – and they keep
                  calling back …over and over and over again. When I call back to the Caller ID
                  number, I get a recorded message that allows me to route myself thru to a “List
                  Management Mailbox” where their system tells me that I can leave my name and
                  phone number to be removed from their system. BUT, there’s a catch. Before you
                  can leave your name and number, the system adds this additional warning message:
                  ==== “Please not that due to call forwarding and other currently available
                  telecommunication technologies we CANNOT GUARANTEE that Aspen will not
                  contact you for any current or future campaign.” ====Well that’s one HUGE
                  steaming pile of a LOOPHOLE! What’s the point of providing my name and phone
                  number to Aspen Media to get put on their Do Not Call list, if they won’t absolutely
                  guarantee that they WON’T STOP CALLING?”



                                                     7
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 8 of 14




               d. On the Better Business Bureau website, on September 1, 2017, one consumer wrote
                  “For years we have been getting almost daily calls from Aspen Media and for years
                  we have been asking them to take us off their call lists and never call again. We
                  placed them on the National Do Not Call Registry years ago. They flagrantly violate
                  our request and the government order.”
               e. On the Better Business Bureau website, on August 17, 2017, one consumer wrote
                  “They won’t stop calling! They are rude and aggressive. If you try to get them to
                  stop calling they hang up. If you reach out to them there is no one to talk to. Look
                  at the other BBB reviews and complaints. Look at the ****** reviews. This
                  company is harassing other companies.”
               f. On the Better Business Bureau website, on September 21, 2016, one consumer
                  wrote “I receive 3 telephone calls a day from this business. In reviewing other
                  complaints regarding this company, I was able to locate an Opt Out email address:
                  ****@aspen****rmation.com. I sent my phone number to this address but I am
                  still receiving the same number of telephone calls per day. Please remove this phone
                  number from your list. Thank You.”
               g. On the Better Business Bureau website, on August 9, 2016, one consumer wrote
                  “This company keeps calling me, trying to get me to buy sales tax publications that
                  I have no use for. They have been calling frequently, and today they called and
                  hung up when I answered. I do not want to receive their harassing sales calls any
                  longer. I have emailed them, asking them to stop calling me.”
  See https://www.bbb.org/us/co/lafayette/profile/market-research/aspen-media-market-research-
  0885-48953/complaints (last visited on February 22, 2019).
                                 CLASS ACTION ALLEGATIONS
         34.      Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2) and
  23(b)(3) on behalf of himself and on behalf of all others similarly situated (“the Class”).
         35.      Plaintiff represents, and is a member of the Class, consisting of all persons within
  the United States who: (1) received a telephone call from Defendant or its agents; (2) on his or her



                                                    8
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 9 of 14




  cellular telephone number; and (3) through the use of any automatic telephone dialing systems or
  artificial or prerecorded voice system as set forth in 47 U.S.C. § 227(b)(1)(A)(3), within four years
  prior to the filing of the Complaint through the date of final approval.
          36.     Defendant and its employees or agents are excluded from the Class. Plaintiff does
  not know the number of members in the Class, but believes the Class members number in the
  hundreds of thousands, if not more. Thus, this matter should be certified as a Class action to assist
  in the expeditious litigation of this matter.
          37.     Plaintiff and members of the Class were harmed by the acts of Defendant in at least
  the following ways: Defendant, either directly or through its agents, illegally contacted Plaintiff
  and the Class members via their cellular telephones by using unsolicited phone calls, thereby
  causing Plaintiff and the Class members to incur certain cellular telephone charges or reduce
  cellular telephone time for which Plaintiff and the Class members previously paid, and invading
  the privacy of said Plaintiff and the Class members. Plaintiff and the Class members were thereby
  damaged through Defendant’s unlawful actions.
          38.     This suit seeks only statutory damages and injunctive relief on behalf of the Class
  and it expressly is not intended to request any recovery for personal injury and claims related
  thereto. Plaintiff reserves the right to expand the Class definition to seek recovery on behalf of
  additional persons as warranted as facts are learned in further investigation and discovery.
          39.     The joinder of the Class members is impractical and the disposition of their claims
  in the Class action will provide substantial benefits both to the parties and to the Court. The Class
  can be identified through Defendant’s records or Defendant’s agents’ records.
          40.     There is a well-defined community of interest in the questions of law and fact
  involved affecting the parties to be represented. The questions of law and fact to the Class
  predominate over questions which may affect individual Class members, including the following:
                a. Whether, within the four years prior to the filing of this Complaint through the
                    date of final approval, Defendant or its agents made phone call advertisements
                    without the recipients’ prior express written consent (other than a telephone call
                    made for emergency purposes or made with the prior express consent of the called



                                                   9
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 10 of 14




                     party) to a Class member using any automatic telephone dialing system or an
                     artificial or prerecorded voice system, to any telephone number assigned to a
                     cellular telephone service;
                 b. Whether the equipment Defendant, or its agents, used to make the phone calls in
                     question was an automatic telephone dialing system as contemplated by the
                     TCPA;
                 c. Whether Defendant, or its agents, systematically made telephone calls to persons
                     featuring an artificial or prerecorded voice;
                 d. Whether Defendant, or its agents, systematically made phone calls to persons who
                     did not previously provide Defendant with their prior express written consent to
                     receive such phone calls;
                 e. Whether Plaintiff and the Class members were damaged thereby, and the extent
                     of damages for such violation; and
                 f. Whether Defendant and its agents should be enjoined from engaging in such
                     conduct in the future.
           41.     As a person that received at least one unsolicited phone call to his cell phone
   without Plaintiff’s prior express written consent, Plaintiff is asserting claims that are typical of the
   Class. Plaintiff will fairly and adequately represent and protect the interests of the Class in that
   Plaintiff has no interest antagonistic to any member of the Class.
           42.     Plaintiff and the members of the Class have all suffered irreparable harm as a result
   of the Defendant’s unlawful and wrongful conduct. Absent a class action, the Class will continue
   to face the potential for irreparable harm. In addition, these violations of law will be allowed to
   proceed without remedy and Defendant will likely continue such illegal conduct. Because of the
   size of the individual Class member’s claims, few, if any, Class members could afford to
   individually seek legal redress for the wrongs complained of herein.
           43.     Plaintiff has retained counsel experienced in handling class action claims and
   claims involving violations of the Telephone Consumer Protection Act. Plaintiff and his counsel




                                                     10
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 11 of 14




   are committed to vigorously prosecuting this action on behalf of the other members of the Class
   and have the financial resources to do so.
          44.     A class action is a superior method for the fair and efficient adjudication of this
   controversy because joinder of all parties is impracticable. Class-wide damages are essential to
   induce Defendant to comply with federal law. The interest of Class members in individually
   controlling the prosecution of separate claims against Defendant is small because the maximum
   statutory damages in an individual action for violation of privacy are minimal, especially given
   the burden and expense of individual prosecution of the complex litigation necessitated by
   Defendant’s actions. Thus, it would be virtually impossible for the individual members of the Class
   to obtain effective relief from Defendant’s misconduct. Even if members of the Class could sustain
   such individual litigation, it would still not be preferable to a class action, because individual
   litigation would increase the delay and expense to all parties due to the complex legal and factual
   controversies presented in this Complaint. By contrast, a class action presents far fewer
   management difficulties and provides the benefits of single adjudication, economy of scale, and
   comprehensive supervision by a single Court. Economies of time, effort and expense will be
   fostered and uniformity of decisions ensured by prosecuting Plaintiff’s claims as a class action.
          45.     Defendant has acted on grounds generally applicable to the Class, thereby making
   appropriate final injunctive relief and corresponding declaratory relief with respect to the Class as
   a whole.
                                                COUNT 1
                                 NEGLIGENT VIOLATIONS OF THE TCPA
                                        47 U.S.C. §§ 227 ET SEQ.
          46.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
   though fully stated herein.
          47.     Defendant made unauthorized automated phone calls using an automatic telephone
   dialing system or prerecorded voice to the cellular telephone numbers of Plaintiff and other
   members of the Class without the prior express written consent.




                                                    11
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 12 of 14




           48.     Each such telephone call described herein was made using equipment that, upon
   information and belief, had the capacity to store or produce telephone numbers to be called, using
   a random or sequential number generator, and to dial such numbers. By using such equipment,
   Defendant was able to in effect make hundreds or thousands of phone calls simultaneously to lists
   of thousands of consumers’ wireless phone numbers without human intervention.
           49.     The foregoing acts and omissions of Defendant and its agents constitute numerous
   and multiple negligent violations of the TCPA, including but not limited to each and every one of
   the above-cited provisions of 47 U.S.C. § 227 et seq.
           50.     As a result of Defendant’s, and Defendant’s agents’, negligent violations of 47
   U.S.C. § 227 et seq., Plaintiff and the Class are entitled to an award of $500.00 in statutory
   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
           51.     Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting such
   conduct in the future.
                                                 COUNT 2
                          KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
                                         47 U.S.C. §§ 227 ET SEQ.
           52.     Plaintiff incorporates by reference paragraphs 1-51 of this Complaint as though
   fully stated herein.
           53.     Defendant made unauthorized automated phone calls using an automatic telephone
   dialing system or prerecorded voice to the cellular telephone numbers of Plaintiff and other
   members of the Class without the prior express written consent.
           54.     Each such telephone call described herein was made using equipment that, upon
   information and belief, had the capacity to store or produce telephone numbers to be called, using
   a random or sequential number generator, and to dial such numbers. By using such equipment,
   Defendant was able to in effect make hundreds or thousands of phone calls simultaneously to lists
   of thousands of consumers’ wireless phone numbers without human intervention.




                                                     12
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 13 of 14




           55.    The foregoing acts and omissions of Defendant constitutes numerous and multiple
   knowing and/or willful violations of the TCPA, including but not limited to each and every one of
   the above-cited provisions of 47 U.S.C. §§ 227 et seq.
           56.    As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et
   seq., Plaintiff and the Class are entitled to treble damages, as provided by statute, up to $1,500.00,
   for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
           57.    Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting such
   conduct in the future.
                                        PRAYER FOR RELIEF
           Wherefore, Plaintiff respectfully requests the Court to grant Plaintiff and the Class
   members the following relief against Defendant:
                      FIRST COUNT FOR NEGLIGENT VIOLATION OF THE TCPA
                                        47 U.S.C. §§ 227 ET SEQ.
           58.    As a result of Defendant’s, and Defendant’s agents’, negligent violations of 47
   U.S.C. § 227(b)(1), Plaintiff seeks for himself and each Class member $500.00 in statutory
   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
           59.    Pursuant to 47 U.S.C. § 227(b)(3)(A), Plaintiff seeks injunctive relief prohibiting
   such conduct in the future.
            SECOND COUNT FOR KNOWING AND/OR WILLFUL VIOLATION OF THE TCPA
                                        47 U.S.C. §§ 227 ET SEQ.
           60.    As a result of Defendant’s, and Defendant’s agents’, willful and/or knowing
   violations of 47 U.S.C. § 227(b)(1), Plaintiff seeks for himself and each Class member treble
   damages, as provided by statute, up to $1,500.00 for each and every violation, pursuant to 47
   U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
           61.    Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such conduct in
   the future.
                                                  ** *




                                                    13
Case 1:19-cv-00554-MSK-SKC Document 1 Filed 02/25/19 USDC Colorado Page 14 of 14




          62.     An order certifying the Class as defined above, appointing Plaintiff Straczynski as
   a Class Representative, and appointing the Law Offices of Ronald A. Marron as Class Counsel.
          63.     An award of reasonable attorneys’ fees (in the event of a class recovery) and costs.
          64.     Any other relief the Court may deem reasonable, just and proper.
                                            JURY DEMAND
           Plaintiff hereby demands a trial by jury on all issues so triable.
                                                  ** *
                             DOCUMENT PRESERVATION DEMAND
          Plaintiff hereby demands that Defendant take affirmative steps to preserve all recordings,
   data, emails, documents and all other tangible things that relate to the allegations herein, Plaintiff
   or the putative class members, or the placing of telephone calls, the events described herein, any
   third party associated with any telephone call, campaign, account or file associated with Plaintiff.
   These materials are very likely relevant to the litigation of this claim. If Defendant is aware of any
   third party that has possession, custody or control of any such materials, Plaintiff demands that
   Defendant request that such third party also take steps to preserve the materials, and notify the
   undersigned of the circumstances immediately so that counsel may take appropriate action. This
   demand shall not narrow the scope of any independent document preservation duties of Defendant.


   Dated: February 25, 2019                       s/ Alexis M. Wood
                                                  By: Alexis M. Wood
                                                  alexis@consumersadvocates.com
                                                  LAW OFFICES OF RONALD A.
                                                  MARRON
                                                  RONALD A. MARRON
                                                  ALEXIS M. WOOD
                                                  KAS L. GALLUCCI
                                                  651 Arroyo Drive
                                                  San Diego, California 92103
                                                  Telephone: (619) 696-9006
                                                  Facsimile: (619) 564-6665

                                                  Attorneys for Plaintiff
                                                  and the Proposed Class




                                                    14
